      Case 2:18-cv-02421-JFW-E Document 33 Filed 04/03/18 Page 1 of 2 Page ID #:367

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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
Broidy Capital Management, LLC et al                        ~ CASE NUMBER

                                                                            2:18-cv-02421-JF W-Ex
                                             PLAINTTFF(S)
                              ~'                                RECEIPT FOR FOREIGN SERVICE FROM
State of Qatar et al
                                                             UNITED STATES POST OFFICE RE COMPLAINT
                                           DEFENDANT(S).


                              (ATTACH RECEIPTS)FOR REGISTERED MAIL HERE)




CV-75 (06/07)          RECEIPT FOR FOREIGN SERVICE FROM U.S. POST OFFICE RE COMPLAINT
      Case 2:18-cv-02421-JFW-E Document 33 Filed 04/03/18 Page 2 of 2 Page ID #:368




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